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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                              PLAINTIFF

                  v.           Civil No. 11-50121-007

     VICTOR PALACIOS                                                       DEFENDANT


                                         O R D E R

             Now on this 24th day of May, 2012, comes on for consideration

     the Magistrate Judge's Report And Recommendation (document #140),

     to which both parties waived the right to object, and the Court,

     having carefully reviewed said Report And Recommendation, finds

     that it is sound in all respects, and that it should be adopted in

     toto.

             IT IS THEREFORE ORDERED that the Magistrate Judge's Report

     And Recommendation is adopted in toto.

             IT IS FURTHER ORDERED that, for the reasons stated in the

     Magistrate Judge's Report And Recommendation, defendant's guilty

     plea is accepted and the written plea agreement is tentatively

     approved, subject to final approval at sentencing.

             IT IS SO ORDERED, this 24th day of May, nunc pro tunc April

     27, 2012.

                                               /s/ Jimm Larry Hendren
                                              JIMM LARRY HENDREN
                                              UNITED STATES DISTRICT JUDGE
